                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA

JIM ANDERSON, JAMES GALLACIO,       )
STEVEN KANAN, VERA F. BAKER TRUST,)
WESTBAY MANAGEMENT CO., and         )
WAYNE ANDERSON,                     )
                                    )                            Case No. 1:07-CV-100
                  Plaintiffs,       )
                                    )
v.                                  )
                                    )                            Chief Judge Curtis L. Collier
HARRY F. THOMPSON, AMY PYE, ERIC J. )
THOMPSON, WILON RESOURCES, INC., )
and JOHN DOES 1 – 5,                )
                                    )
                  Defendants.       )


                                               ORDER

        Before the Court is a curious proposed order to “show cause” which was delivered by the

plaintiffs to the Court’s chambers but was not filed via the electronic filing system or with the

Clerk’s office. This order is supported by an even more curious “letter memorandum” (no motion

has been filed), the format of which is in obvious violation of Local Rules 5.1 and 7.1. This order

and memorandum were apparently filed simultaneously with the complaint. The defendants in this

matter have not yet appeared. There is no evidence the defendants have even been served.

        The “verified complaint” (Court File No. 1) alleges various state law causes of action against

a Tennessee corporation and several of its directors. The complaint also alleges a civil violation of

the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. § 1964. It is this

Court’s practice for litigants to require parties filing civil RICO claims to file a “RICO Statement,”

in the form set forth below. It is also this Court’s practice to provide all litigants with a fair hearing.

The plaintiffs, via their “show cause” order, attempt to circumvent the Federal Rules of Civil




      Case 1:07-cv-00100 Document 7 Filed 05/21/07 Page 1 of 5 PageID #: 1
Procedure by a “summary proceeding,” instead of permitting the defendants to answer the complaint

and moving forward in a typical plenary action. The plaintiffs miscite New Hampshire Fire Ins. Co.

v. Scanlon, 362 U.S. 404 (U.S. 1960). In this case, the United States Supreme Court held the law

at issue did not justify a summary proceeding. There, as here, the matter was an “everyday, garden-

variety controversy that regular, normal court proceedings are designed to take care of” and there

was no statutory authority, there or here, which would “relax or alter the safeguards of plenary

proceedings,” id. at 409-10. Accordingly, the Court DENIES the plaintiffs’ apparent (although

unfiled) motion to propagate the show cause order. This matter will proceed as a typical civil action

and will be set for a scheduling conference after the defendants appear and after the plaintiffs submit

the RICO Statement.

        Thus: The plaintiffs shall file, within twenty (20) days hereof, a RICO Statement. This case

statement shall include the facts the plaintiffs are relying upon to initiate this RICO complaint as a

result of the “reasonable inquiry” required by Fed. R. Civ. P. 11. In particular, this case statement

shall be in a form which uses the numbers and letters set forth below, and shall contain in detail and

with specificity the following information.

        1.      State whether the alleged unlawful conduct is in violation of 18 U.S.C. §§ 1962(a),

(b), (c), and/or (d).

        2.      List each defendant and state the alleged misconduct and basis of liability of each

defendant.

        3.      List the alleged wrongdoers, other than the defendants listed above, and state the

alleged misconduct of each wrongdoer.

        4.      List the alleged victims and state how each victim was allegedly injured.

        5.      Describe in detail the pattern of racketeering activity or collection of unlawful debts




      Case 1:07-cv-00100 Document 7 Filed 05/21/07 Page 2 of 5 PageID #: 2
alleged for each RICO claim. A description of the pattern of racketeering shall include the following

information:

                     a.      List the alleged predicate acts and the specific statutes
               which were allegedly violated;

                       b.      Provide the dates of the predicate acts, the participants
               in the predicate acts, and a description of the facts surrounding the
               predicate acts;

                       c.      If the RICO claim is based on the predicate offenses
               of wire fraud,1 mail fraud, or fraud in the sale of securities, the
               “circumstances constituting fraud or mistake shall be stated with
               particularity.” Fed. R. Civ. P. 9(b). Identify the time, place and
               contents of the alleged misrepresentations, and the identity of persons
               to whom and by whom the alleged misrepresentations were made;

                       d.      State whether there has been a criminal conviction for
               violation of the predicate acts;

                     e.      State whether civil litigation has resulted in a
               judgment in regard to the predicate acts;

                      f.      Describe how the predicate acts form a “pattern of
               racketeering activity”; and

                       g.      State whether the alleged predicate acts relate to each
               other as part of a common plan. If so, describe in detail.

       6.      Describe in detail the alleged enterprise for each RICO claim. A description of the

enterprise shall include the following information:

                       a.      State the names of the individuals, partnerships,
               corporations, associations, or other legal entities, which allegedly
               constitute the enterprise;

                      b.      Describe the structure, purpose, function and course
               of conduct of the enterprise;



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         It should be noted, the “verified complaint” asserts a wire fraud predicate, but does not
describe the “scheme or artifice to defraud, or for obtaining money or property . . .” pursuant to 18
U.S.C. § 1341.



     Case 1:07-cv-00100 Document 7 Filed 05/21/07 Page 3 of 5 PageID #: 3
                         c.      State whether any defendants are employees, officers
                 or directors of the alleged enterprise;

                        d.      State whether any defendants are associated with the
                 alleged enterprise;

                         e.      State whether the defendants are individuals or entities
                 separate from the alleged enterprise, or that the defendants are the
                 enterprise itself, or members of the enterprise; and

                        f.      If any defendants are alleged to be the enterprise itself,
                 or members of the enterprise, explain whether such defendants are
                 perpetrators, passive instruments, or victims of the alleged
                 racketeering activity.

        7.       State and describe in detail whether the pattern of racketeering activity and the

enterprise are separate or have merged into one entity.

        8.       Describe the alleged relationship between the activities of the enterprise and the

pattern of racketeering activity. Discuss how the racketeering activity differs from the usual and

daily activities of the enterprise, if at all.

        9.       Describe what benefits, if any, the alleged enterprise receives from the alleged pattern

of racketeering.

        10.      Describe the effect of the enterprise’s activities on interstate or foreign commerce.

        11.      If the complaint alleges a violation of 18 U.S.C. § 1962(a), provide the following

information:

                        a.      State who received the income derived from the
                 pattern of racketeering activity or through the collection of an
                 unlawful debt; and

                         b.       Describe the use or investment of such income.

        12.      If the complaint alleges a violation of 18 U.S.C. § 1962(b), describe in detail the

acquisition or maintenance of any interest in or control of the alleged enterprise.

        13.      If the complaint alleges a violation of 18 U.S.C. § 1962(c), provide the following



      Case 1:07-cv-00100 Document 7 Filed 05/21/07 Page 4 of 5 PageID #: 4
information:

                       a.      State who is employed by or associated with the
               enterprise; and

                      b.      State whether the same entity is both the liable
               "person" and the "enterprise" under section 1962(c).

       14.     If the complaint alleges a violation of 18 U.S.C. § 1962(d), describe in detail the

alleged conspiracy.

       15.     Describe the alleged injury to business or property.

       16.     Describe the direct causal relationship between the alleged injury and the violation

of the RICO statute.

       17.     List the damages sustained for which each defendant is allegedly liable.

       18.     Provide any additional information which would be helpful to the Court in processing

the RICO claim.

       If this statement is not filed with the Clerk within twenty (20) days hereof, any RICO claim

asserted herein shall be subject to dismissal.

               SO ORDERED.

               ENTER:



                                                 /s/
                                                 CURTIS L. COLLIER
                                                 CHIEF UNITED STATES DISTRICT JUDGE




     Case 1:07-cv-00100 Document 7 Filed 05/21/07 Page 5 of 5 PageID #: 5
